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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

INMAR, INC. and COLLECTIVE BIAS, INC.,                 )
                                                       )
                               Plaintiffs,             )
                                                       )
         v.                                            )    No. 18-cv-02306
                                                       )
MONICA MURPHY VARGAS and                               )    Hon. Charles R. Norgle
MLW SQUARED, INC., d/b/a AHALOGY,                      )
                                                       )
                               Defendants.             )

                           UNOPPOSED MOTION FOR AN EXTENSION
                          OF TIME TO ANSWER OR OTHERWISE PLEAD

         Defendant Monica Murphy Vargas, by her attorneys, moves pursuant to Federal Rule of

Civil Procedure 6(b) for an extension of time to answer or otherwise plead. In support of the

Motion, Monica states:

         1.        Plaintiffs filed their 10-Count Complaint on March 29, 2018. A summons was

issued to Monica on April 2, 2018, and she was served on April 3, 2018. Monica’s responsive

pleading is due on Tuesday, April 24, 2018. (Doc. 8.)

         2.        Chuhak & Tecson, P.C. was recently retained to represent Monica and has been

diligently investigating the allegations of the Complaint. Chuhak needs an additional 30 days, up

to and including May 24, 2018, to complete its investigation and to prepare Monica’s responsive

pleading.

         3.        Counsel for Plaintiffs has indicated that they have no objection to the relief sought

in this Motion.

         4.        This extension is not sought for the purposes of delay, and an extension will not

prejudice the rights of any party.




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         WHEREFORE, Defendant Monica Murphy Vargas respectfully requests that the Court

grant her 30 additional days, up to and including May 24, 2018, to answer or otherwise plead,

and for any such other and further relief the Court deems just and appropriate.


Dated: April 13, 2018                         Respectfully submitted,


                                              By: /s/ Kristen E. Hudson
                                              Kristen E. Hudson (6281191)
                                              Ryan A. Haas (6283020)
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                                              Monica Murphy Vargas




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                                  CERTIFICATE OF SERVICE

         I, Kristen E. Hudson, the undersigned attorney, certify that a true and correct copy of the

foregoing Unopposed Motion for an Extension of Time to Answer or Otherwise Plead was

filed electronically using the Court’s CM/ECF system, causing a true and correct copy to be

served on all counsel of record on this 13th day of April 2018.


                                                /s/ Kristen E. Hudson




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